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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION                                             ENTERED
                                                                                             08/05/2019
IN RE:                                        §
                                              §                      CASE NO. 18-34526
ANTHONY PIGGUE                                §                           CHAPTER 7
                                              §
DEBTOR                                        §
                                              §
COMAL CLASSIC CUSTOM HOMES,                   §              ADVERSARY NO. 18-3266
INC.                                          §              ADVERSARY NO. 18-3308
Plaintiff                                     §
                                              §
v.                                            §
                                              §
ANTHONY PIGGUE                                §



                                   SCHEDULING ORDER

         1. This Scheduling Order applies to both Adversary No. 18-3266 and Adversary No.
            18-3308.
         2. Initial disclosures shall be made by January 18, 2019.
         3. All discovery shall be completed by July 3, 2019.
         4. Any motions for summary judgment shall be filed after the close of discovery and
            prior to July 19, 2019.    Any party that wishes to file a motion for summary
            judgment prior to the close of discovery must first seek court approval and establish
            cause.
         5. The party with the burden of proof on a particular issue for which expert testimony
            may be offered shall designate its expert(s) and provide a report by 5:00 P.M.
            (Central time) on May 17, 2019. The responding party shall designate its expert(s)
            and provide a report by 5:00 P.M. (Central time) on June 7, 2019.
         6. The parties shall file a Joint Pretrial Statement by August 20, 2019. All counsel and
            unrepresented parties shall be responsible for the filing of the jointly prepared
            document.
         7. A Pretrial Conference shall be held in Courtroom 400, 4th Floor, 515 Rusk Street,
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           Houston, Texas on August 20, 2019 at 2:00 P.M. (Central time). All counsel and
           unrepresented parties must attend the Pretrial Conference and be prepared to argue
           any pending motions for summary judgment. A trial date/re-assignment will be
           addressed at the Pretrial Conference, as well as whether the Court will have a
           bifurcated trial.
       8. Any changes in this schedule will only be made by further order of the Court, either
           orally at a hearing or in writing. Motions to extend these deadlines will be granted
           only for good cause beyond the control of the lawyers or parties in very limited
           circumstances.

    Signed: August 01, 2019
SIGNED: _______________
                                            _______________________________________
                                              ____________________________________
                                               DAVID R. JONES
                                            DAVID R. JONES
                                              UNITED STATES BANKRUPTCY JUDGE
                                            UNITED STATES BANKRUPTCY JUDGE
